Case 2:09-cv-00148-TJW Document 149 Filed 06/03/10 Page 1 of 2 PageID #: 635



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  TUNE HUNTER INC.,                            §
                                               §
                Plaintiff,                     §
                                               §
         vs.                                   §   Case No. 2-09-CV-148TJW
                                               §
  SAMSUNG TELECOMMUNICATIONS                   §   JURY TRIAL DEMANDED
  AMERICA, LLC et al.                          §
                                               §
                Defendants.                    §

                       ORDER OF DISMISSAL WITH PREJUDICE
                       OF DEFENDANT LG ELECTRONICS, INC.

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), and as a result of an agreement

  reached between plaintiff Tune Hunter Inc. (“Tune Hunter”) and defendant LG

  Electronics USA, Inc. (“LG”), IT IS HEREBY ORDERED, ADJUDGED AND

  DECREED as follows:

         1.    This Court has personal jurisdiction over Tune Hunter and LG, and

  over the subject matter of this action.

         2.    Each claim made and that could have been made by Tune Hunter

  against LG, and each counterclaim that could have been made by LG against

  Tune Hunter, in this action is hereby dismissed, with prejudice, on the basis of

  the settlement reached, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).

         3.    The portion of this Court’s April 1, 2010 Order granting Tune Hunter

  leave to amend the complaint to name the correct LG entity is rendered moot.

         4.    Each party shall bear its own costs and attorneys’ fees.




  ORDER OF DISMISSAL                                                          Page 1
Case 2:09-cv-00148-TJW Document 149 Filed 06/03/10 Page 2 of 2 PageID #: 636



         5.   The Court shall retain jurisdiction over this matter to insure that the

  terms and conditions of the parties’ settlement agreement are honored and

  enforced.

          SIGNED this 3rd day of June, 2010.



                                               __________________________________________
                                               T. JOHN WARD
                                               UNITED STATES DISTRICT JUDGE




  ORDER OF DISMISSAL                                                          Page 2
